Case 2:03-cr-20083-STA Document 108 Filed 04/18/05 Page 1 of 2 Page|D 115

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IN THE UNITED STATES DISTRICT COURT 7
FOR THE WESTERN DISTRICT OF TENNESSEF{]S 15,, PR j 8 PH iv U

 

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CLEHK. U S. Di _ji. CT_
UNITED sTATEs oF AMERICA, WD OF TN MEMPH!S
Plaimiff,
Vs. No. 2:03CR20083
MARLO PRIDE,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE SENTENCING

 

This cause came on upon the motion of the Defendant to continue the sentencing hearing

set on April 21, 2005 at 1130 p.rn. For good cause shown, the Court hereby grants the

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Defendant’s motion The sentencing is hereby reset for the 231'/ day of f 24:? : ,
2005 at /’.30 a.rn.

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J.l) IEL BREEN `\
U TE sTATEs DISTRICT JUDGE

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DISTRIC COUR - WESTERN D'S'TRCT oFTENNESSEE

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Honorable J. Breen
US DISTRICT COURT

